






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00131-CR







Colton Aaron Pitonyak, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. D-1-DC-05-301918, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






O P I N I O N



A jury found appellant Colton Aaron Pitonyak guilty of murder and assessed a fifty-five-year prison term.  See Tex. Penal Code Ann. § 19.02(b)(1) (West 2003).  In five points of error,
appellant contends that:  (1) the evidence is legally and factually insufficient to sustain the guilty
verdict, (2) the trial court erred by refusing to instruct the jury on the lesser included offenses of
manslaughter and criminally negligent homicide, (3) the trial court erred by overruling appellant's
motion to suppress evidence, (4) his trial counsel rendered ineffective assistance, and (5) the trial
court erred by failing to conduct an inquiry into appellant's competence to stand trial.  We will
overrule these points of error and affirm the judgment of conviction.



BACKGROUND


The disappearance of Jennifer Cave

On Thursday, August 18, 2005, Sharon Cave and Jim Sedwick drove to Austin from
their home in Corpus Christi to look for Sharon's daughter, Jennifer Cave.  Jennifer, who was
twenty-one years old, had been living in Austin for about two years.  Sharon and Jennifer were very
close, and they spoke to each other by telephone daily, often several times.  On Monday, August 15,
Jennifer had told her mother that she was going to interview the next day for a part-time job at an
Austin law firm.  On Tuesday, Jennifer called Sharon to tell her that she had gotten the job.  Later
that same day, Jennifer called again to say that she had been offered full-time employment at the
firm.  Sharon testified that Jennifer was extremely excited by the prospect of this new job.  Jennifer
and Sharon spoke again at 8:30 p.m. Tuesday night.  Jennifer was at the apartment she shared with
Denise Winterbottom, doing laundry and preparing herself for the next day, which was to be her first
full day at the law firm.  Still excited about the new job, Jennifer told her mother that she was going
to wear the new pants suit that Sharon had recently bought for her.  This was Sharon's last
conversation with Jennifer.

On Wednesday afternoon, August 17, Sharon received a telephone call at her office
from William Thompson, one of the attorneys at the law firm that had employed Jennifer. 
Thompson asked Sharon if she had spoken to Jennifer that day.  When Sharon said that she had not,
Thompson told her that Jennifer had not come to work that day and that she was not answering her
telephone.  Someone from the firm had also gone to Jennifer's apartment, but she was not there. 
Sharon immediately began calling Jennifer's cell phone, but all of her calls went "straight to her
voicemail."  Believing that Jennifer had merely misplaced her phone but nevertheless worried,
Sharon called her cell phone service provider.  From the telephone company, she obtained a list of
the numbers that had called or been called from Jennifer's phone, starting with Jennifer's last call
at 1:08 a.m. on Wednesday and going back several hours.  Sharon then began calling the numbers
that appeared on the list most frequently, hoping to find someone who might know
Jennifer's&nbsp;whereabouts.

One of the numbers Sharon called belonged to Michael Rodriguez.  Rodriguez
testified that he had spoken to Jennifer by telephone three times on Tuesday night and Wednesday
morning.  In the first call, at 10:30 Tuesday night, Jennifer told Rodriguez that she was going to
"hang out" with a friend named Colton, who Rodriguez did not know.  In a second call around
midnight, Jennifer said that Colton was "upset."  In the third call, at 1:00 a.m., Jennifer told
Rodriguez that Colton was upset because he had lost his cell phone, that he had tried to break out
the window of a parked car, and that he was at that moment urinating on another vehicle.   Rodriguez
testified that Jennifer "didn't sound like she was in trouble or anything," and that he "assumed he
[Colton] was just intoxicated and doing something stupid."  

Sharon reached Rodriguez on her office telephone.  While she was speaking to
Rodriguez, appellant, who she had also been attempting to reach, called her cell phone.  Sharon
testified, "I asked him [appellant] if he had seen Jennifer, if he had talked to Jennifer, and he said
no.  Mr. Rodriguez said, 'That's not true.  She was with him.'  So I had two phone conversations
going at the same time."  When Sharon told appellant that she was "on the phone with somebody that
says she was with you," appellant acknowledged that he had seen Jennifer downtown but claimed
that he did not know where she now was.  Sharon testified, "Michael was still on the phone and
Michael just said he is lying.  He was with her last night.  He is lying."  After speaking to Rodriguez
and appellant, Sharon called Jennifer's roommate.  Winterbottom told Sharon that when she went
to bed on Tuesday night, Jennifer had been washing clothes at the apartment, but when she awoke
on Wednesday morning, Jennifer was gone. 

Sharon began to call "places in Austin, hospitals.  I think I even called the morgue. 
And I couldn't find anything, so I called the police station."  The person she spoke to at the Austin
police department told her that Jennifer had not been missing long enough to file a missing persons
report.  He did open a case file and gave Sharon the number.  Sharon gave the police the license plate
number of Jennifer's car and other personal information about her daughter.

By this time, it was about 5:00 p.m. on Wednesday afternoon.  Sharon called Sedwick
at his work and told him "there is something very wrong.  There is something wrong with Jennifer." 
Sharon and Sedwick met at their home, and they continued to make telephone calls in an attempt to
find someone who might have seen or spoken to Jennifer.  One of the persons Sedwick called was
appellant, who did not answer.  Sedwick left a "stern" message telling appellant to "call us back, we
are looking for Jennifer."  At about 7:30 p.m., appellant returned the call.  Sharon answered.  She
testified, "I said, Colton, please, do you know anything about Jennifer, and he said, dude, I'm eating
pizza with my friends.  Leave me alone.  I don't know where she's at."  Then he hung up.

Appellant was not a total stranger to Sharon and Sedwick.  Sharon testified that
Jennifer had spoken to her about appellant soon after she moved to Austin.  Sharon said that she later
learned that Jennifer and appellant were using drugs.  She testified that she spoke to Jennifer about
this and that Jennifer seemed to listen.  Sharon was asked if she had suspected that Jennifer's failure
to show up for work on August 17 was the result of "a bad bout with alcohol or drugs."  She replied,
"No, I did not think that that was the problem.  She was too excited about her new job."

On Thursday morning, August 18, Sharon and Sedwick called the Austin police and
spoke to Detective Kathleen Hector in the missing persons office.  Sharon told Hector all that had
happened the previous day, including Jennifer's failure to appear for work and Sharon's fruitless
attempt to locate her.  Sharon also gave the detective the names and numbers of the people she had
called.  Hector assured Sharon that the police would "check it out" and would "look for her license
and see if there was anything like that, if her car was in the impound lot or anything like that." 
Sharon and Sedwick then decided to drive to Austin to continue their search for Jennifer.

Sharon and Sedwick left Corpus Christi at 11:00 a.m. on Thursday morning.  When
they were near San Antonio, Hector called Sharon on her cell phone to report that Jennifer's car had
been found at 2529 Rio Grande, near the University of Texas campus. (1)  Hector told Sharon that
appellant lived at that address, in apartment 88.  When Sharon and Sedwick arrived in Austin at
about 4:00 p.m., they immediately drove to 2529 Rio Grande.  They were met there by Sharon's
daughter Vanessa, who had driven to Austin from her home in Dallas to help look for her sister
Jennifer.  2529 Rio Grande is a large condominium complex called the Orange Tree.  They found
Jennifer's car parked in the street and appellant's apartment on the second floor.  Hector's business
card was on both the car and the apartment door.  Sharon and Sedwick found nothing unusual at
apartment 88.  They knocked on the door and windows, calling out Jennifer's name, but there was
no response.  After about an hour, they left the Orange Tree and went to a hotel.  Sharon, who had
a spare key, drove Jennifer's car to the hotel.  She hoped that if Jennifer "came out and saw that her
car was missing, that the first thing she would do is call me or call the police."  

While at the hotel, Sharon called directory assistance for Arkansas.  She had learned
during a telephone conversation with one of Jennifer's friends that appellant was from Arkansas, and
she had seen a car with Arkansas license plates at the Orange Tree.  Sharon managed to reach
appellant's father.  She testified, "I told him that my daughter was missing and that I was looking
for her and that the last person that we thought she was with was Colton."  According to Sharon,
appellant's father told her that "Colton had called and asked if he could take Jennifer to dinner and
use his mother's credit card.  And so it confirmed that he and Jennifer had been somewhere
on&nbsp;Tuesday night."

Sharon and Sedwick decided to return to the Orange Tree.  Fearing that she had made
a mistake by moving Jennifer's car, Sharon drove it back and parked it where she had found it. 
Joined by Vanessa and a friend, Sharon and Sedwick knocked on appellant's door but got no
response.  Although Sharon had been told by Hector that there was nothing the police could do at
this time, she called the police again and Officer Guillermo Salinas was dispatched to the Orange
Tree.  Salinas testified that he arrived at 8:36 p.m.  Sharon told Salinas that her daughter was missing
and that she thought that she might be in apartment 88.  Salinas examined Jennifer's car and
appellant's car, and he knocked on the apartment door.  The officer spoke to someone who told him
that the apartments were individually owned condominiums and that there was no building manager
who would have a master key.  After Salinas consulted with his superiors by radio, he told Sharon
and Sedwick that he was not authorized to force his way into the apartment.  Sedwick asked the
officer "what would happen if he [Sedwick] forced entry."  Salinas advised Sedwick that if he broke
in, he could be charged with criminal trespass.  Sedwick then asked Salinas if the police would be
willing to enter the apartment if Sedwick hired a locksmith to open the door.  Salinas checked with
his supervisor, who said "no."  Salinas left the scene approximately forty-five minutes
after&nbsp;he&nbsp;arrived.


The discovery of the body

Sharon testified that after Salinas left, "We were desperate.  We didn't know what
to do.  The police were telling us that they were sorry, they couldn't help us.  We didn't know what
to do."  She said that she believed that it was necessary to get inside appellant's apartment "[b]ecause
it's the only thing I had of where Jennifer might be and I had to start somewhere.  I had to look for
her. . . .  We couldn't find her and he was the link.  He was how--he was the last person to be with
her.  Her car was there."

Sharon and Sedwick decided to call a locksmith, who came to the apartment and
attempted to open the door without success.  As Sharon and Sedwick stood outside appellant's
apartment after the locksmith had departed, Sharon noticed that one of the windows was cracked. 
She "went over with my fingernail and I chipped the glass out a little bit."  After making this hole
in the windowpane, Sharon used a temple piece from a broken pair of sunglasses to open the lock. 
Sedwick then opened the window and climbed into the apartment.

As he entered the apartment through the window, Sedwick called out, "I'm here to
help.  Please don't hurt me.  Please don't shoot me.  I'm looking for you, Jennifer."  Using the
flashlight that he kept in his car, Sedwick began to look around the small studio apartment.  The
room was in "complete disarray."  There was no one on the couch, in the bed, or in the kitchen area. 
Sedwick found a light switch and turned it on. "[A]t that point," he testified, "I smelled something." 
Sedwick walked down a short hallway to the bathroom.  He said, "I opened that door and the smell
really hits me.  I shine my light in there.  I am seeing something.  I flip the light on and there is a
body in the bathtub."  Sedwick described what he did next:  "I'm trying to figure out what I'm seeing
here . . . .  I started yelling, call the police, call 911.  I immediately identified that it was a decapitated
body.  I was seeing that and I saw the hacksaw laying there.  So I went to the front door and I
unlocked the front door and I went out.  And Sharon's yelling, is it her, is it her, and that's
when&nbsp;I&nbsp;said, I think so."

Outside the apartment, Vanessa had the 911 operator on the phone.  Sedwick spoke
to the operator, telling him, "I have got a body in a bathtub full of blood.  I really need some help
over here.  I think I got asked one of those really silly questions is there a pulse or something like
that."  After speaking to the 911 operator, Sedwick reentered the apartment and returned to the
bathroom.  He testified that he "couldn't positively identify her, obviously," but "she had on this kind
of greenish dress that I thought I recognized."  Sharon testified, "I remember wanting to go in and
Jim wouldn't let me.  He said, no, no, you can't, you can't."  She added, "He said he thought it was
Jennifer because he saw her feet.  That's all he would say.  He just said--I said, is it Jennifer, is it
Jennifer, is it Jennifer?  He said, I think so, I saw her feet.  He saw her feet.  He saw her feet."

Officer Richard Barbaria and his partner, Officer Chris Clark, were on routine patrol
that night in the West Campus area.  Barbaria testified that at 10:15 p.m., they were dispatched to
the intersection of Rio Grande and West 25th Street.  Barbaria explained that when the 911 call
center "is getting information fed to them and it sounds kind of serious," they "will disperse some
information to the patrolmen to have us heading in that area and then slowly they will update us as
to what is going on."  As Barbaria and Clark drove toward the indicated location, they were told by
the dispatcher to go to the Orange Tree condominiums at 25th and Seton where a woman in
apartment 8 was reported to be "possibly overdosed and in trouble."  Within minutes, Barbaria and
Clark were at the Orange Tree and found apartment 8.  As they were pounding on the door, they
noticed the arrival of ambulances and fire trucks and saw emergency personnel going to apartment
88.  Realizing that they had been given the wrong apartment number, Barbaria and Clark went to the
other apartment.  Barbaria testified, "I was still under the belief that the female [in the apartment]
was alive or at least in critical condition from an overdose."  As Barbaria neared apartment 88, he
was approached by Sedwick.  The officer "immediately assumed that he is related to or knows well
the woman who was injured inside, the possible overdose that I had at that time."  Sedwick told
Barbaria that "the female was dead and that she was inside" the apartment.  Barbaria testified that
Sedwick's statements "had no meaning to me at the time because I did not see the victim as of yet."

Following a group of fire fighters, Barbaria entered the apartment.  He noticed that
it was "messy and unkempt," "a typical college student's apartment."  Barbaria followed the fire
fighters to the bathroom.  He testified, "I am usually used to coming to a scene where it is an
overdose or something, the firemen are in front of me and I usually watch them work and then I look
for evidence of narcotics."  But on this night, "I knew something was wrong because they were going
up to the bathroom and doing like an about face.  You know, you have all these firemen carrying all
their medical gear . . . and they are not going into the bathroom. . . .  I am like, what is going on?" 
Barbaria entered the bathroom and found "a female body with the head missing and the hands
missing.  It was propped up in the bathtub facing the doorway."  Barbaria noticed a small hacksaw
on the body's chest, and he remembered "seeing portions of flesh and blood.  It was used to cut the
body."  The officer also saw a plastic garbage bag on the bathroom floor.  "I didn't bother looking
at it or touching it because I knew--just by the shape of the bag, I knew what parts were in the bag." 
After making sure that no one else was inside, Barbaria and Clark closed the apartment and
contacted homicide detectives to report what they had found.

The body in appellant's bathtub was Jennifer Cave.  As Barbaria had suspected,
Jennifer's severed head and hands were in the plastic garbage bag.  It was determined during the
autopsy that Jennifer was killed by a single gunshot.  The bullet passed through her right arm and
reentered her body through the ribs on her right side.  The bullet then passed through her right lung
and punctured the aorta, which caused her death.  The bullet was found in the body just under the
skin on the left side of her back.  In addition to the bullet wound, there were numerous stab wounds
to the body.  There were eighteen stab wounds to the face and neck, and another cluster of ten stab
wounds on the left shoulder and right breast.  The medical examiner testified that these wounds were
inflicted after death.  Finally, a second bullet was found in Jennifer's head when the body was x-rayed.  The medical examiner testified that this wound was also post-mortem.  The bullet had entered
through the severed neck and traveled upward, lodging in the cranial vault.

		

Other evidence

The two bullets found in Jennifer's body were fired from a .380 semiautomatic pistol
that was found in appellant's car.  Three cartridge casings fired from that pistol were found in
appellant's apartment; the third bullet was never found.  In addition to the bloody hacksaw found on
Jennifer's body, a knife and a machete stained with Jennifer's blood were found in
appellant's&nbsp;apartment.

Several witnesses testified to having seen and spoken to Jennifer and appellant at a
bar on Sixth Street in downtown Austin on the night and early morning of August 16 and 17. 
Jennifer did not appear to be intoxicated, but appellant appeared to be under the influence of alcohol
or drugs.  Two of these witnesses heard appellant mention purchasing cocaine.

One of appellant's neighbors at the Orange Tree, Nora Sullivan, testified that
appellant came to her apartment with a pistol at 3:00 a.m. on Wednesday morning.  Appellant told
Sullivan that he had just been in a fight with "some Mexican guys" at his apartment and there had
been an exchange of gunfire.  Sullivan had heard no gunshots and did not believe appellant, although
she did notice that he had what appeared to be a smudge of blood on his forearm.  Sullivan testified,
"I could tell he had been drinking, so I just thought he was rambling on some story he made up."

The owner of a hardware store a few blocks from appellant's apartment testified that
appellant was in the store shortly after 3:00 p.m. on Wednesday afternoon.  Appellant purchased a
hacksaw, shop towels, latex gloves, dust masks, 55-gallon drum liners, ammonia, carpet cleaner, and
odor eliminator.  Appellant told the witness that he was going to use the saw to cut up a turkey.  The
witness said that he smelled alcohol on appellant's breath, but that appellant did not appear to be
intoxicated.  The evidence shows that after leaving the hardware store, appellant stopped at a Burger
King and ordered a hamburger, fries, and a drink.  The remains of this meal were found by the police
at appellant's apartment.

Scott Engle testified that he and Jennifer lived together for several months in early
2005, that they remained friends after Jennifer moved out of his apartment, and that they often spoke
to each other.  Through Jennifer, Engle was also acquainted with appellant.  On Wednesday
afternoon, August 17, Sharon Cave called Engle on the telephone and told him that Jennifer was
missing and had last been seen with appellant.  Engle testified that after he spoke to Sharon, he
called appellant and left a message.  Appellant returned Engle's call within fifteen minutes. 
Appellant told Engle that he had not seen Jennifer since having dinner with her on Tuesday night. 
Engle told appellant that Jennifer's car was parked at his apartment and that "more than likely the
cops would be arriving there shortly."  Appellant replied, "That bitch is going to get me arrested."

Appellant left Austin with a woman named Laura Hall on Wednesday night, in Hall's
automobile.  They drove to Del Rio, then crossed into Mexico and made their way to Piedras Negras. 
They checked into a motel in that city on Friday, August 19.  They were arrested at the motel by
Mexican police four days later and turned over to United States marshals.  Marshal Vincent Bellino
testified that when he told appellant that he was being arrested for murder, appellant said, "If this is
a murder charge, then I know exactly what this is about."


Appellant's testimony

Appellant was twenty-four years old at the time of the trial.  He testified that he
graduated from high school in Little Rock, Arkansas, in 2001.  That fall, he entered the University
of Texas on an academic scholarship.  Appellant did well in school at first, but he soon began taking
drugs and drinking to excess.  Appellant was arrested for driving while intoxicated in December
2002 and suspended from the university.  For the next two-and-a-half years, appellant was in and out
of the university and the local community college, but he continued to drink heavily and use drugs,
and he rarely went to class.

Appellant testified that he met Jennifer Cave in the summer of 2004.  He described
their relationship as "really good friends" and not romantic.  He said, "I knew I could always call her
or she could call me and we would be there to help each other out."  He added, "I cared about her
a lot.  She was my best friend."

That fall, appellant was arrested for possession of cocaine.  As part of an agreement
by which the offense was reduced to a misdemeanor, appellant entered a residential drug
rehabilitation center.  He was released after one month, and he began using drugs and drinking two
days later.  It was at about this time that appellant met Laura Hall.  Appellant testified that Hall
would come to his apartment and they "would stay up and drink and do drugs together."  He said that
Hall was in love with him, but he did not share these feelings.

Appellant testified that during the summer of 2005, he was drinking a case of beer
and a liter of vodka every day.  In addition to the drinking, he was taking Xanax and using cocaine. 
Appellant was also buying and selling cocaine and other drugs.  In July 2005, appellant was given
the .380 pistol by "some guys who owed me some money" for drugs.  They also gave him a box of
ammunition.  Appellant testified that he never loaded the weapon and that he threw away the
ammunition.  In August, appellant sold the pistol (without ammunition) to a friend of Hall's named
Jason.  A few days later, on August 13, Jason visited appellant at his apartment.  He asked to borrow
appellant's car and offered to leave the pistol with appellant as assurance that he would return. 
Appellant agreed to this arrangement.  The pistol was left either on the kitchen counter or in a
kitchen drawer.  Appellant claimed that he "didn't want to mess with it" and did not know that the
pistol was loaded.

Appellant testified that Jennifer called him shortly after 9:00 p.m. on Tuesday night,
August 16, 2005.  "She told me she got a new job that day.  She was excited that she got promoted
her first day and she was just kind of catching me up on things.  And she said do you want to go
downtown and get a drink and get something to eat.  I said yeah, if you will come pick me up, we
will go."  Appellant had been drinking vodka steadily since about 5:00 p.m., and he had also taken
several Xanax pills.  He recalled going to a restaurant on Sixth Street with Jennifer, where he bought
a drink, but he testified that this was the last thing he remembered about that night.  Appellant said
that his next memory was waking up in his apartment the following morning.

Telephone records showed that appellant made several calls between 5:30 and
6:00&nbsp;a.m. Wednesday morning, but appellant could not remember whether he made the calls before
or after he discovered Jennifer's body.  He testified that at some time that morning, "I went back to
the bathroom to use the restroom and she was laying in the bathtub."  Appellant said that he knew
when he saw her that Jennifer was dead.  Asked why he did not call the police, appellant replied,
"I&nbsp;was scared.  I didn't know what happened.  I wanted to--I panicked."

Appellant testified that he was certain that he shot Jennifer even though he had no
recollection of having done so.  Appellant said that "[e]verything points to it," and "I can't think of
any other thing that happened."  He insisted, however, that "[t]here is no way it would have
been&nbsp;on&nbsp;purpose."  

Appellant said that after he discovered the body, he called Hall, one of the persons
he had spoken to earlier, and told her not to come to the apartment as she had planned to do.  Hall
insisted on coming, however, and she arrived at about 8:00 a.m.  After appellant showed Hall
Jennifer's body, she asked, "[W]hat are we going to do?"  Appellant said that he and Hall began to
discuss the possibility of cutting up the body.  Asked why he would consider doing this, appellant
answered, "I wanted to--to get rid--get rid of the body.  I don't know."  Appellant testified that he
did not remember personally cutting the body.  He also claimed that he did not see Hall cut the body,
but he remembered her telling him that "what she was trying wasn't working, that she needed some
things."  Appellant said that he "assumed" that this was a reference to "cutting up the body" with the
knife and machete that he had in his apartment.  Appellant's counsel asked him, "Truthfully, son,
didn't you know that Laura was in the process of seeing to it that that body was cut up into several
different pieces?  Isn't that correct?"  Appellant answered, "Yes, sir."  Appellant testified that Hall
gave him the list of items to purchase at the hardware store.  He knew that the hacksaw and other
supplies were to be used to cut up Jennifer's body.  He said that after returning to the apartment with
the saw, "I tried to go in there and do some cutting, but I couldn't."

Appellant was asked if he fired the shot into Jennifer's severed head.  He said, "I did
not."  Asked who did, appellant answered, "I was not there when it happened.  I can only assume." 
Appellant said that no one else was present except Hall.

Appellant testified that he drank heavily throughout Wednesday and also took several
Xanax pills.  He remembered the telephone calls from Sharon Cave on Wednesday, and he admitted
that he was rude to her on both occasions.  That night, when Sharon told him that she had called the
police, appellant "panicked."  He "started throwing some clothes in a bag and said we need to get
out of the apartment.  We need to go somewhere and figure out what happened."  He said that he and
Hall did not have any definite plans when they left his apartment on Wednesday night, but after they
drove to Hall's apartment so she could get some clothes, "she said something about going to Mexico
and that's where we ended up."

		

SUFFICIENCY OF THE EVIDENCE


Appellant contends that the evidence is legally and factually insufficient to support
the jury's determination that he intentionally or knowingly killed Jennifer Cave.  When there is a
challenge to the sufficiency of the evidence to sustain a criminal conviction, the question presented
is whether a rational trier of fact could have found the essential elements of the offense beyond
a&nbsp;reasonable doubt.  Jackson v. Virginia, 443 U.S. 307, 324 (1979) (legal sufficiency);
Clayton&nbsp;v.&nbsp;State, 235 S.W.3d 772, 778 (Tex. Crim. App. 2007) (legal sufficiency); Johnson v. State,
23 S.W.3d 1, 11 (Tex. Crim. App. 2000) (factual sufficiency). 

		

Legal sufficiency

In a legal sufficiency review, all the evidence is reviewed in the light most favorable
to the verdict.  Clayton, 235 S.W.3d at 778.  It is assumed that the trier of fact resolved conflicts in
the testimony, weighed the evidence, and drew reasonable inferences in a manner that
supports&nbsp;the&nbsp;verdict.  Id.

Appellant concedes that he shot Jennifer, but he asserts that there is no evidence that
he intended to cause her death.  Appellant argues that he and Jennifer were friends and that he had
no reason to kill her.  He further argues that the State failed to negate the possibility that the pistol
accidentally discharged.  Appellant argues that in the absence of any showing of motive or any direct
evidence of the manner in which he shot Jennifer, the jury could not rationally find beyond a
reasonable doubt that he intentionally or knowingly killed her.

A culpable mental state must often be proved circumstantially, and the jury is entitled
to consider events that occurred before, during, and after the commission of the offense. 
Mouton&nbsp;v.&nbsp;State, 923 S.W.2d 219, 223 (Tex. App.--Houston [14th Dist.] 1996, no pet.).  In a murder
prosecution, the intent to kill may be inferred from the defendant's use of a deadly weapon, unless
in the manner of its use it is reasonably apparent that death could not result.  Ross v. State,
861&nbsp;S.W.2d 870, 873 (Tex. Crim. App. 1992); Godsey v. State, 719 S.W.2d 578, 580-81 (Tex. Crim.
App. 1986).  When, as in this case, the evidence shows that a deadly weapon was used in a deadly
manner, "the inference is almost conclusive that [the defendant] intended to kill."  Godsey,
719&nbsp;S.W.2d at 581 (quoting Hatton v. State, 21 S.W. 679 (Tex. Crim. App. 1893)).

The State did not have to prove that appellant had a motive for killing Jennifer.  See
Clayton v. State, 235 S.W.3d 772, 781 (Tex. Crim. App. 2007) (stating that motive is not element
of murder, although it may be circumstance indicative of guilt).  Looking at the evidence in the light
most favorable to the verdict, we must assume that the jury rejected the possibility that the shooting
was an accident or the result of reckless or negligent conduct, and that the jury instead drew the
permissible inference that appellant shot Jennifer with a deadly weapon intending to kill her.  The
jury could also infer an intent to kill from appellant's conduct following the shooting.  See Mouton,
923 S.W.2d at 223.  The jury could reasonably conclude that a person who had just unintentionally
shot his best friend would not go next door and tell his neighbor that he had had an exchange of
gunfire with some strangers, and that he would not thereafter attempt to dismember the dead body
before fleeing to Mexico.  We hold that the evidence is legally sufficient to support the jury's finding
beyond a reasonable doubt that appellant intentionally killed Jennifer Cave.


Factual sufficiency

In a factual sufficiency review, all the evidence is considered equally, including the
testimony of defense witnesses and the existence of alternative hypotheses.  Clewis v. State,
922&nbsp;S.W.2d 126, 129 (Tex. Crim. App. 1996); Orona v. State, 836 S.W.2d 319, 321
(Tex.&nbsp;App.--Austin 1992, no pet.).  Although due deference still must be accorded the fact finder's
determinations, particularly those concerning the weight and credibility of the evidence, the
reviewing court may disagree with the result in order to prevent a manifest injustice.  Johnson,
23&nbsp;S.W.3d at 9; Cain v. State, 958 S.W.2d 404, 407 (Tex. Crim. App. 1997).  The evidence will be
deemed factually insufficient if the evidence supporting the verdict is so weak as to make the finding
of guilt clearly wrong or manifestly unjust, or if the verdict is against the great weight and
preponderance of the available evidence.  Watson v. State, 204 S.W.3d 404, 414-15 (Tex. Crim. App.
2006); Johnson, 23 S.W.3d at 11.

Appellant argues that to find that he intended to kill Jennifer, the jury had to disregard
"overwhelming evidence" that he did not know that the gun was loaded when he pulled the trigger. 
Appellant testified that he never loaded the pistol after originally acquiring it, threw away the
ammunition, and sold it to Jason unloaded.  Appellant also testified that after Jason left the pistol
at his apartment on Saturday, August 13, he did not examine the weapon to determine if it was
loaded.  He also cites the testimony of defense firearms expert Edward Hueske, who testified that
the pistol in question did not have a safety or a loading indicator to show that a bullet is in the firing
chamber.  Appellant asserts that even if he should have checked the weapon when he received it
from Jason, his failure to do so was merely negligence or recklessness.  He urges that because he did
not know that the pistol was loaded, he could not have intended to kill Jennifer even if he pointed
the pistol at her and pulled the trigger.

Appellant also argues that if he had intended to kill Jennifer, he would not have shot
her in the side.  Citing no authority or evidence, appellant asserts that a gun shot in the side
"normally does not produce mortal wounds."  Appellant also refers to Rodriguez's testimony that
he did not sense that Jennifer was in any danger when he spoke to her by telephone early Wednesday
morning, not long before the shooting.  Appellant contends that in light of Rodriguez's testimony
and the angle from which Jennifer was shot, "the most plausible conclusion from the evidence was
that [he] accidentally shot her."

The State's firearms expert, Greg Karim, testified that the pistol had a "trigger safety"
so that if the trigger "was snagged at the top, the trigger is not going to move."  Karim also testified
that the pistol was so designed that it would not discharge if dropped.  Karim said that the trigger
pull for the gun was eight to ten pounds, which is typical for a double action weapon and not
abnormally low.

The State also points to the testimony of appellant's neighbor, Sullivan, who testified
that appellant had a pistol with him when he came to her apartment at 3:00 a.m. Wednesday morning
and told her about the alleged shoot-out in his apartment.  Sullivan testified that while appellant was
in her apartment, he took the magazine out of the pistol to make sure it was unloaded.  She said,
"I&nbsp;think he might have said I'm unloading it.  I didn't know what he was doing."  The State further
notes appellant's admission, during cross-examination, that he took the pistol with him "once or
twice" when purchasing drugs.  Given this evidence and appellant's obvious motivations in
testifying, the jury could reasonably discount appellant's claim that he was unfamiliar with the pistol
and did not know that it was loaded.

Appellant dismisses the State's proof of intent to kill as "mere speculation."  But
appellant's assertion that he did not intend to kill Jennifer is equally speculative.  Because appellant
claimed that he did not remember shooting Jennifer and there were no other witnesses, the jury had
to infer appellant's culpable mental state from the known circumstances.  As noted above, the jury
could reasonably infer an intent to kill from appellant's use of a deadly weapon and from his conduct
following the shooting.  Whatever appellant's motive for the shooting, the jury could reasonably
conclude that it arose after he and Jennifer returned to his apartment early Wednesday morning and
that there was no reason for Jennifer to have felt herself in any danger before then.  And the jury
could have found a number of plausible reasons other than accident to explain the angle of the fatal
shot, such as appellant's intoxication, his lack of skill with the pistol, or mere coincidence.  Viewing
all the evidence in a neutral light and giving the jury's verdict the deference it is due, we hold that
the evidence supporting the verdict is not so weak as to make the finding of intentional murder
clearly wrong or manifestly unjust and that the verdict is not against the great weight and
preponderance of the available evidence. 

Point of error one is overruled.


LESSER INCLUDED OFFENSES


Appellant contends that the trial court erred by refusing to instruct the jury on the
lesser included offenses of manslaughter and criminally negligent homicide.  See Tex. Penal Code
Ann. §§ 19.04, .05 (West 2003).  There is a two-part test for determining if an instruction on a lesser
included offense should be given:  (1) the lesser offense must be included within the proof necessary
to establish the offense charged, and (2) there must be some evidence that would permit the jury
rationally to find that if the defendant is guilty, he is guilty only of the lesser offense. 
Rousseau&nbsp;v.&nbsp;State, 855 S.W.2d 666, 672-73 (Tex. Crim. App. 1993).  

The only distinction between an intentional or knowing murder and the lesser offenses
of manslaughter and criminally negligent homicide lies in the culpable mental state accompanying
the homicidal act.  Navarro v. State, 863 S.W.2d 191, 204 (Tex. App.--Austin 1993), pet. ref'd,
891&nbsp;S.W.2d 648 (Tex. Crim. App. 1994).  Thus, there is no question that manslaughter and
criminally negligent homicide are included within the proof necessary to establish the charged
offense in this case.  See id. at 647.  We must determine if there is evidence from which the jury
could have rationally found that appellant was guilty only of recklessly or negligently causing
Jennifer Cave's death.

Appellant concedes that his claimed inability to remember the shooting did not entitle
him to instructions on the lesser offenses.  See Schroeder v. State, 123 S.W.3d 398, 401 (Tex. Crim.
App. 2003).  Further, it is not enough that the jury might have disbelieved crucial evidence pertaining
to the charged offense.  Bignall v. State, 887 S.W.2d 21, 24 (Tex. Crim. App. 1994).  Rather, there
must be some evidence directly germane to the included offenses for the jury to consider.  Id.  In
other words, it is not sufficient that the jury might have chosen to disbelieve that appellant
intentionally or knowingly killed Jennifer; there must be evidence that appellant was guilty only of
acting recklessly or with criminal negligence.

Appellant contends that his testimony that he did not examine the pistol in advance
to determine whether or not it was loaded is evidence from which the jury could find that, when he
pointed the pistol at Jennifer, he either consciously disregarded a substantial and unjustifiable risk
that death would result or that he ought to have been aware of that risk.  See Tex. Penal Code
Ann.&nbsp;§&nbsp;6.03(c), (d) (West 2003) (defining recklessness and criminal negligence).  But appellant's
testimony that he had not checked to see whether the pistol was loaded, even if believed by the jury,
is not evidence that appellant was guilty only of manslaughter or criminally negligent homicide. 
Appellant could have intended to kill Jennifer when he pointed the pistol at her and pulled the trigger
even if, when he did so, he did not know to a certainty that the pistol was loaded.

Appellant also urges that the evidence regarding his alcohol and drug intoxication on
the night of the shooting raises the issue of whether he was capable of acting intentionally or
knowingly.  Under penal code section 8.04(a), however, evidence of voluntary intoxication cannot
be used to negate the culpable mental state of a crime.  Tex. Penal Code Ann. § 8.04(a) (West 2003);
Hawkins v. State, 605 S.W.2d 586, 589 (Tex. Crim. App. 1980). 

Finding no evidence from which the jury could have rationally found that appellant,
if guilty at all, was guilty only of manslaughter or criminally negligent homicide, we hold that the
trial court did not err by refusing to instruct on these lesser offenses.  Point of error two is overruled.


MOTION TO SUPPRESS EVIDENCE


A warrant to search appellant's apartment was issued at 4:40 a.m. on Friday morning,
August 19, about six hours after Jennifer Cave's body was discovered.  A warrant to search
appellant's automobile was issued five hours later.  Appellant moved to suppress the evidence seized
pursuant to these warrants on the ground that information crucial to the finding of probable cause
to search was obtained unlawfully.  In his third point of error, appellant contends that the trial court
erred by overruling the motion to suppress.

We review a trial court's ruling on a motion to suppress evidence for an abuse of
discretion.  Villareal v. State, 935 S.W.2d 134, 138 (Tex. Crim. App. 1996).  In this review, we defer
to the trial court's factual determinations but review de novo the court's application of the law to the
facts.  Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997).  We will sustain the trial court's
ruling admitting evidence if the ruling is reasonably supported by the record and correct on any
theory of law applicable to the case.  Willover v. State, 70 S.W.3d 841, 845 (Tex. Crim. App. 2002).


Appellant's contention

Appellant's challenge to the searches is based on Texas's statutory exclusionary rule,
which provides that "[n]o evidence obtained by an officer or other person in violation of any
provisions of the Constitution or laws of [Texas or the United States] shall be admitted in evidence
against the accused on the trial of any criminal case."  Tex. Code Crim. Proc. Ann. art. 38.23(a)
(West 2005).  This exclusionary rule applies to evidence unlawfully obtained by any person, whether
or not the person is a government agent.  State v. Johnson, 939 S.W.2d 586, 587 (Tex. Crim. App.
1996).  Appellant contends that Jim Sedwick committed a criminal trespass when he entered
appellant's apartment through the window.  See Tex. Penal Code Ann. § 30.05(a)(1) (West Supp.
2007) ("A person commits an offense if he enters . . . property . . . or . . . a building of another
without effective consent and he had notice that the entry was forbidden").  Appellant argues that
because the search warrants were issued on the basis of information Sedwick unlawfully obtained
as a result of his criminal trespass, the evidence seized under the warrants must be excluded pursuant
to article 38.23(a).

A search warrant may not be procured lawfully by the use of unlawfully obtained
information.  Brown v. State, 605 S.W.2d 572, 577 (Tex. Crim. App. 1980).  When a search warrant
is issued on the basis of an affidavit containing unlawfully obtained information, the evidence seized
under the warrant is admissible only if the warrant "clearly could have been issued on the basis of
the untainted information in the affidavit."  Id.  If the tainted information was clearly unnecessary
to establish probable cause for the search warrant, then the defendant could not have been harmed
by the inclusion of the tainted information in the affidavit.  Castillo v. State, 818 S.W.2d 803, 805
(Tex. Crim. App. 1991), overruled on other grounds, Torres v. State, 182 S.W.3d 899, 901-02
(Tex.&nbsp;Crim. App. 2005). This rule has been held to apply under article 38.23(a) when a search
warrant contains information obtained by the unlawful act of a private person.  Martin v. State,
67&nbsp;S.W.3d 340, 343 (Tex. App.--Texarkana 2001, pet. ref'd); State v. Johnson, 896 S.W.2d 277,
292 (Tex. App.--Houston [1st Dist.] 1995), aff'd, 939 S.W.2d 586, 588 (Tex. Crim. App. 1996). 

The probable cause affidavits supporting the two search warrants were prepared by
Detective Mark Gilchrest and signed by Detective Douglas Skolaut, both members of the Austin
Police Department's homicide unit.  The two affidavits are substantially identical.  The pertinent
portion of the two affidavits described:  (1) Jennifer's disappearance, the efforts that had been made
to find her, and appellant's connection to her disappearance; (2) Sedwick's entry into appellant's 
apartment through the window and his discovery of Jennifer's body; and (3) Barbaria's discovery
of the body when he responded to Sedwick's 911 emergency call. 	


The trial court's ruling

Appellant's motion to suppress was overruled following a pretrial hearing at which
Sedwick, Sharon Cave, and several Austin police officers testified regarding the disappearance of
Jennifer Cave, the ensuing search, and Sedwick's discovery of her body after forcing open the
window and entering appellant's apartment.  After hearing the evidence and the arguments of
counsel, the trial court agreed with the State that Sedwick's entry into appellant's apartment was not
unlawful and, moreover, that the discovery of Jennifer's body was inevitable.  The court made the
following findings and conclusions:

		

The Court finds the actions on the part of Sharon Cave and Jim Sedwick were
not the result of any assistance or direction governed by any law enforcement agent
or authority.  They were not agents in any form or fashion.  Their conduct was solely
a decision of the aunt [sic], and with no assistance or direction from the Austin Police
Department or any law enforcement agent or authority.  The Motion to Suppress is
denied on that ground.


The next issue is the emergency doctrine. . . .


. . .


It's clear that the Court's finding is that Jennifer Cave was missing,
whereabouts unknown.  Through her [Sharon Cave's] own efforts, she discovered,
in conversations with Michael Rodriguez, that the last person she, being the
deceased, had contact with, was the accused in this case.


She found the location of the accused's residence, went there, found her
daughter's automobile, made efforts to determine if she was at that location.


The Court finds that, as viewed through--through the standpoint and the view
of Sharon Cave and Jim Sedwick, their conduct was reasonable.  There was an
emergency, in their minds, that existed.  Their daughter could have been
injured/harmed, in some way, unable to communicate with them, that there was an
emergency situation in their minds.  They were justified in entering the premises
under the emergency doctrine.  They reasonably believed that Jennifer Cave was in
there and in need of immediate aid or assistance.


Motion to Suppress is denied with regard to a finding of this Court that an
emergency truly did exist that justified the entry.


With regard to the question of necessity, assuming that someone may disagree
with this Court and find that the crime of criminal trespass did, in fact, occur--the
Court is assuming that I will be the fact finder as to whether any defense would be
applicable in this case.  And the Court finds that if someone takes exception to the
Court's ruling here and finds that a crime of criminal trespass did, in fact, occur--the
Court finds that as the finder of fact, that a necessity defense would be applicable,
that the entry made was immediately necessary to avoid any imminent harm, and that
it would be applicable.  And the Motion to Suppress is denied on that ground.


The Court further finds that the testimony at the hearing establishes . . . that
there was the odor of decomposition in the apartment when the apartment was
entered.  The Court understands that there are two people who had smelled an odor
and one who didn't.  But it is a finding of fact that the odor did exist, and that it's
reasonable to conclude that in a--in a short period of time that that odor would have
emanated to the apartments surrounding or near the apartment where the body was
found, and that the inevitable discovery doctrine is found as applicable by the Court
in this case.  The Motion to Suppress is denied on all grounds. 



Inevitable discovery

Appellant challenges the three legal conclusions on which the trial court based its
decision to overrule the motion to suppress.  Appellant quickly disposes of the court's inevitable
discovery rationale, correctly pointing out that inevitable discovery is not an exception to the article
38.23 exclusionary rule.  State v. Daugherty, 931 S.W.2d 268, 273 (Tex. Crim. App. 1996).  The
State concedes that article 38.23 does not incorporate the inevitable discovery doctrine, although it
argues that the law should be otherwise.  That is an argument for the court of criminal appeals.


Emergency doctrine

Appellant argues that the emergency doctrine is an exception to the Fourth
Amendment search warrant requirement and has no application to the actions of a private person
who was not acting as a state agent.  See Burdeau v. McDowell, 256 U.S. 465, 475 (1921) (holding
that Fourth Amendment protection against unreasonable searches and seizures applies only to
government agents).  But the court of criminal appeals has recently held that for the purpose of
applying the article 38.23(a) exclusionary rule, the actions of a private person are to be judged
according to the standards that apply to police officers.  The court held:


[T]he plain language and history of Article 38.23 lead to an inescapable conclusion:
if an officer violates a person's privacy rights by his illegal conduct making the fruits
of his search or seizure inadmissible in a criminal proceeding under Article 38.23,
that same illegal conduct undertaken by an "other person" is also subject to the Texas
exclusionary rule.  If the police cannot search or seize, then neither can the private
citizen.  Conversely, if an officer may search or seize someone under the particular
circumstances, then the private citizen's equivalent conduct does not independently
invoke the Texas exclusionary rule, and the evidence obtained by either the officer
or the private person may be admissible.



Miles v. State, 241 S.W.3d 28, 36 (Tex. Crim. App. 2007) (footnote omitted).  In other words, under
article 38.23(a), "a private person can do what a police officer standing in his shoes can legitimately
do, but cannot do what a police officer cannot do."  Id. at 39.  Therefore, although the Fourth
Amendment warrant requirement applies only to police officers and other agents of the government
as a matter of constitutional law, Miles effectively applies the Fourth Amendment warrant
requirement--and the exceptions to that requirement--to the conduct of private persons.  Under
Miles, if a police officer standing in Sedwick's shoes would have been justified in entering and
searching appellant's apartment as Sedwick did, then Sedwick's discovery of Jennifer's body was
not evidence obtained in violation of the law under article 38.23(a).

The Fourth Amendment does not bar police officers from making warrantless entries
to assist persons who are seriously injured or threatened with serious injury.  The need to protect or
preserve life or avoid serious injury is justification for what would otherwise be unlawful. 
Mincey&nbsp;v.&nbsp;Arizona, 437 U.S. 385, 392 (1978); see also Laney v. State, 117 S.W.3d 854, 860-61
(Tex.&nbsp;Crim. App. 2003) (discussing emergency doctrine under Mincey and distinguishing it from
automobile inventory and community caretaking doctrines).  This Court has held that for this
emergency doctrine to apply, three factors must be present:  (1) the officer's conduct must be
divorced from the detection, investigation, or acquisition of evidence; (2) the officer must have an
immediate, objectively reasonable belief that the search is necessary in order to protect or preserve
life or avoid serious injury; and (3) the scope of the search must be strictly circumscribed by the facts
of the emergency.  Wiede v. State, 157 S.W.3d 87, 102 (Tex. App.--Austin 2005, pet. ref'd).  Since
Wiede was decided, however, the United States Supreme Court has made it clear that, in the context
of the emergency doctrine, a police officer's subjective motivation is irrelevant in determining
whether the officer's actions violated the Fourth Amendment.  Brigham City v. Stuart, 547 U.S. 398,
126 S. Ct. 1943, 1948 (2006).  The Court rejected the argument that the emergency doctrine cannot
be invoked if the officer was primarily motivated by an intent to arrest or seize evidence.  Id.  An
officer's action is reasonable under the Fourth Amendment if the circumstances, viewed objectively,
justify the action.  Id.  In deciding whether an officer had an objectively reasonable belief that his
conduct was necessary to protect or preserve life or avoid serious injury, we must take into account
the facts and circumstances known to the officer at the time of the search.  Laney,
117&nbsp;S.W.3d&nbsp;at&nbsp;862.

A prominent commentator has observed that "there are an infinite variety of situations
in which entry for the purpose of rendering aid is reasonable."  3 Wayne R. LaFave, Search and
Seizure § 6.6(a) (4th ed. 2004).  As an example of the proper application of the emergency doctrine,
LaFave cites the opinion in People v. Mitchell, 347 N.E.2d 607 (N.Y. 1976).  In that case, a hotel
maid disappeared shortly after she reported to work at 9:00 a.m.  Id. at 608.  Residents of the hotel
began to look for her, and they were soon joined by two police patrolmen.  Id.  The maid's street
clothes and her partially eaten lunch were found on the sixth floor of the hotel, but a check of vacant
rooms and inquiries to the other residents were unavailing.  Id.  At 1:15 p.m., four hours after the
maid had last been seen, a homicide detective arrived at the hotel to assist in the search.  Id.  After
a thorough search of the basement, roof, alleyways, and air ducts, a room-by-room search of the hotel
was commenced.  Id.  The detective entered the defendant's room with a passkey provided by
management and found the maid's dead body in a closet.  Id.  at 608-09.  

The New York Court of Appeals held that the search of the defendant's hotel room
had been reasonable under the Fourth Amendment because it was triggered by an emergency
situation.  Id. at 609.  The court ruled that the police had reasonable grounds to believe that there was
an emergency:  the maid had not been seen for hours, she had not responded when summoned, it was
highly probable that she was somewhere in the hotel, and the circumstances "led to the conclusion
that some grave misfortune of an indeterminable nature had befallen [her]."  Id. at 609-10.  The court
noted the absence of any obvious signs, such as screams or the odor of a decaying corpse, suggesting
that the missing maid might be in the defendant's room.  Id. at 610.  But the court also observed that
an exhaustive search of the public areas of the hotel had revealed nothing, raising the possibility that
the maid was in one of the private rooms, and that the defendant's room was on the floor where the
maid had last been seen and where her partially eaten lunch was found.  Id.  The court concluded that
a search of the defendant's room "was imperative in light of these facts."  Id. at 611.

As he stood outside appellant's locked condominium apartment on Thursday night,
August 18, Sedwick was confronted by an emergency at least as obvious and as immediate, if not
more so, than that which confronted the officer in Mitchell.  Sedwick knew that:


 On Tuesday, Jennifer called her mother, Sharon Cave, to excitedly report that she
had accepted a job with an Austin law firm.  That night, Jennifer again spoke to her
mother by telephone.  Still excited about the new job, Jennifer was doing her laundry
and deciding which clothes to wear to her new job on Wednesday.


 On Wednesday morning, Jennifer did not report for work.  Calls to her cell phone
went unanswered, and she was not at her apartment.  Jennifer's roommate discovered
that Jennifer's bed had not been slept in on Tuesday night.  Jennifer's new employers
were so concerned that they called her mother that afternoon.  Although Sharon did
not suspect that Jennifer's disappearance was drug-related, Sharon did know that
Jennifer had used drugs in the past.


 Jennifer's last telephone call was at 1:00 a.m. Wednesday morning.  Sharon had
been unable to reach Jennifer by telephone since learning of her disappearance on
Wednesday afternoon.  Jennifer, who spoke to her mother by telephone at least once
a day, had not called her mother or answered her mother's calls since their Tuesday
night conversation.  Sharon had called Austin hospitals and even the morgue in her
unsuccessful effort to locate her daughter.


 Sharon had made calls to the persons who Jennifer had last spoken to, but only
Michael Rodriguez had any pertinent information.  According to Rodriguez, Jennifer
and appellant had been together on Sixth Street in downtown Austin on Tuesday
night and early Wednesday morning.


 When appellant was contacted by Sharon on Wednesday afternoon, he denied
having been with Jennifer.  Confronted with Rodriguez's contrary information,
appellant admitted having seen Jennifer briefly on Tuesday night, but denied having
any knowledge of her whereabouts.  Sharon's belief that appellant was lying and
knew more than he was saying was confirmed on Thursday, when appellant's father
told her that appellant had had a dinner date with Jennifer on Tuesday night.  


 On Thursday, Jennifer's car was found parked near appellant's apartment. 
Appellant's car was also parked at the condominium complex.  There was, however,
no response to repeated knocks on appellant's door and no sign that the apartment
was occupied.



Considered together, these facts strongly suggested that Jennifer's disappearance was the result of
foul play and pointed to appellant's apartment as the most obvious place to look for her.  Granted,
there were no signs of foul play at the apartment.  There had been no reports of shouts or gunshots
coming from the apartment.  No foul odor had been detected.  But Jennifer had been missing without
explanation for almost two days, appellant was her last known companion, her car was parked
outside appellant's apartment (as was appellant's), and appellant had lied about having been with
Jennifer on Tuesday night.  If Jennifer was sick or injured or otherwise physically threatened, each
passing moment increased the risk of death or serious injury.  We conclude that a police officer
standing in Sedwick's shoes would have had an objectively reasonable belief that an emergency
situation existed and that entry into appellant's apartment was immediately necessary to protect or
preserve Jennifer's life or to avoid serious injury to her.  See Brimage v. State, 918 S.W.2d 466, 503
(Tex. Crim. App. 1996) (op. on reh'g) (holding that emergency doctrine justified warrantless search
to locate complainant or to find evidence that would lead to complainant's discovery at
different&nbsp;location).

That one or more Austin police officers subjectively believed that they did not have
a legal reason to enter the apartment, and conveyed that belief to Sedwick, is irrelevant.  It is not
clear from the record whether the officer or officers who made the decision not to forcibly enter
appellant's apartment on that Thursday night knew all the pertinent facts and circumstances.  In any
event, an action is reasonable under the Fourth Amendment as long as the circumstances, viewed
objectively, justify the action.  Stuart, 126 S. Ct. at 1948 (quoting Scott v. United States,
436&nbsp;U.S.&nbsp;128, 138 (1978)).  The question is not whether the Austin police subjectively believed that
an emergency existed, but whether a police officer standing in Sedwick's shoes and knowing what
Sedwick knew would have been objectively warranted in believing that an emergency existed.  We
hold that he would have been. 

Although this case was tried before the opinion in Miles was announced, the trial
court properly concluded that Sedwick's entry into appellant's apartment on the night in question
was reasonable under the emergency doctrine.  Sedwick's search of the apartment after entering did
not exceed the scope justified by the emergency, and Jennifer's body was discovered in plain view. 
See Mincey, 437 U.S. at 393 (holding that "police may seize any evidence that is in plain view during
the course of their legitimate emergency activities").  Sedwick's discovery of Jennifer's body was
not information obtained in violation of the Fourth Amendment.  For the same reason, there was no
violation of article I, section 9 of the Texas Constitution.  See Brimage, 918 S.W.2d at 500
(recognizing emergency doctrine under Texas Constitution).

		

Necessity

Appellant also contends that the evidence does not support the trial court's conclusion
that Sedwick's conduct was immediately necessary to avoid imminent harm.  See Tex. Penal Code
Ann. § 9.22 (West 2003) (necessity defense).  Appellant urges that there is no evidence that Sedwick
was confronted by an emergency situation requiring a split-second decision without time to consider
the law.  See Stefanoff v. State, 78 S.W.3d 496, 501 (Tex. App.--Austin 2002, pet. ref'd)
(discussing&nbsp;necessity defense).

Because it would have been reasonable for a police officer standing in Sedwick's
shoes to have entered appellant's apartment under the emergency situation that was objectively
apparent, the officer's entry would have been justified by public duty and would not have constituted
a criminal trespass.  See Tex. Penal Code Ann. § 9.21 (West 2003) (public duty defense); see also
Rosalez v. State, 875 S.W.2d 705, 717 (Tex. App.--Dallas 1993, pet. ref'd) (holding that officers'
alleged criminal trespass was justified by public duty).  Under Miles, we need not decide if Sedwick,
as a private person, would have been justified by necessity in committing an act that might otherwise
constitute a criminal trespass.

We hold that Sedwick's discovery of Jennifer's body was not information obtained
in violation of the law under article 38.23(a) as interpreted in Miles.  This information was properly
used to obtain the warrants to search appellant's apartment and automobile.  Point of error three is
overruled.


INEFFECTIVE ASSISTANCE OF COUNSEL


Appellant's next contention is that his trial counsel rendered ineffective assistance. 
To prevail on this claim, appellant must show that his attorneys made such serious errors that they
were not functioning effectively as counsel and that these errors prejudiced appellant's defense to
such a degree that he was deprived of a fair trial.  See Strickland v. Washington, 466 U.S. 668, 687
(1984); Hernandez v. State, 988 S.W.2d 770, 771-72 (Tex. Crim. App. 1999); Hernandez v. State,
726 S.W.2d 53, 57 (Tex. Crim. App. 1986); see also Moore v. State, 694 S.W.2d 528, 531
(Tex.&nbsp;Crim. App. 1985); O'Hara v. State, 837 S.W.2d 139, 143 (Tex. App.--Austin 1992,
pet.&nbsp;ref'd).  To prove prejudice, appellant must show that there is a reasonable probability that the
result of his trial would have been different had counsel not performed deficiently.  Strickland,
466&nbsp;U.S. at 693-94.  We must indulge a strong presumption that counsel's conduct fell within the
wide range of reasonable professional assistance.  See Jackson v. State, 877 S.W.2d 768, 771
(Tex.&nbsp;Crim. App. 1994).  To overcome this presumption, any allegation of ineffectiveness must be
firmly founded in the record and the record must affirmatively demonstrate the alleged
ineffectiveness.  Mallett v. State, 65 S.W.3d 59, 63 (Tex. Crim. App. 2001).

Appellant first notes that during the course of the trial, his attorneys stated that they
had "no objection" when the State offered some of the evidence seized during the searches they had
challenged in their motion to suppress.  See Holmes v. State, No. PD-1050-07, 2008 Tex. Crim. App.
LEXIS 327, at *3 (Tex. Crim. App. Mar. 5, 2008) (by stating "no objection," defendant waives right
to complain on appeal that evidence unlawfully obtained); Boykin v. State, 504 S.W.2d 855, 857
(Tex. Crim. App. 1974) (same; rule applies even if motion to suppress filed and overruled). 
Appellant argues that if counsel thereby failed to preserve error in the overruling of his pretrial
motion to suppress, this constituted ineffective assistance.  However, we have already overruled on
the merits appellant's contention that the evidence in question was unlawfully obtained and should
have been suppressed.  Therefore, the alleged error by counsel did not prejudice the defense at
trial&nbsp;or on appeal.

Appellant also complains of his attorneys' failure to object to improper jury argument
by the State.  He urges that an objection should have been made when, on three different occasions
during argument at the guilt stage of trial, a prosecutor told the jury that a specific intent to kill could
be inferred from the use of a deadly weapon. (2)  He claims that an objection should also have been
made to the prosecutor's statement that when appellant "pointed that gun and shot Jennifer Cave,
he was acting intentionally.  There is nothing more intentional than pointing a gun and shooting it." 
Appellant argues that under penal code section 22.05, only recklessness is presumed when a person
points a firearm at another.  Tex. Penal Code Ann. § 22.05(c).  Appellant complains that the
prosecutors' statements improperly shifted the burden of proof to the defense to show that he did not
have an intent to kill.  See Sandstrom v. Montana, 442 U.S. 510, 524 (1979) (holding that due
process is violated by presumption shifting burden of persuasion to defendant).

Appellant's argument fails to acknowledge the distinction between an inference and
a presumption.  The prosecutors did not argue that appellant's intent to kill was presumed as a result
of his use of a deadly weapon.  Instead, the prosecutors argued that the jury could infer an intent to
kill from his use of a deadly weapon in a deadly manner.  Such an inference is proper, as we noted
in our discussion of the sufficiency of the evidence.  See Ross, 861 S.W.2d at 873; Godsey,
719&nbsp;S.W.2d at 581.  Counsel's failure to object to the arguments did not constitute ineffectiveness
because the arguments were not objectionable.

Point of error four is overruled.


COMPETENCE TO STAND TRIAL


Appellant's final point of error is that the trial court, on its own motion, should have
conducted an inquiry into his competence to stand trial.  A person is incompetent to stand trial if he
does not have sufficient present ability to consult with his lawyer with a reasonable degree of rational
understanding, or if he does not have a rational and factual understanding of the proceedings against
him.  Tex. Code Crim. Proc. Ann. art. 46B.003(a) (West 2006).  If evidence suggesting that the
defendant may be incompetent to stand trial comes to the attention of the court, the court must raise
the competency issue on its own motion and determine by informal inquiry whether there is some
evidence from any source that would support a finding that the defendant may be incompetent to
stand trial.  Id. art. 46B.004(b), (c).

The statutes governing competency determinations were revised by the legislature in
2003.  See Act of April 30, 2003, 78th Leg., ch. 35, § 1, 2003 Tex. Gen. Laws 57.  Under prior law,
a trial court was required to conduct what was referred to as a "section 2 hearing" or a "competency
inquiry" if evidence raising a bona fide doubt regarding the defendant's competence was brought to
the court's attention from any source.  See McDaniel v. State, 98 S.W.3d 704, 710 (Tex. Crim. App.
2003).  It is unclear whether that same standard governs the trial court's obligation to conduct an
"informal inquiry" under the current statute.  See Rojas v. State, 228 S.W.3d 770, 773
(Tex.&nbsp;App.--Amarillo 2007, no pet.) (applying bona fide doubt standard); Lawrence v. State,
169&nbsp;S.W.3d 319, 323 (Tex. App.--Fort Worth 2005, pet. ref'd) (acknowledging, but not deciding,
that new statutory language might create lower evidentiary threshold).  Like the Lawrence court, we
do not decide this issue because we conclude that even under a broad interpretation of article
46B.004(b), there was no evidence suggesting that appellant was incompetent to stand trial.

Appellant argues that the question of his competence to stand trial was raised by his
testimony that he could not remember what happened during the early morning of August 17 when
Jennifer Cave was shot in his apartment.  Appellant also refers us to the testimony of Dr. Richard
Coons, a forensic psychiatrist called by the defense.  Coons testified that excessive use of alcohol
or depressants can result in blackouts or periods of amnesia.  In answer to a hypothetical question,
Coons said that a person who drank a quart of vodka and took several Xanax tablets might
experience such a blackout:  "[I]t is completely in keeping with what I have testified to before, that
alcohol and Xanax impair the ability to lay down memory and it will impair that ability for all the
time that you are sufficiently intoxicated."  Coons apparently did not examine appellant, and he did
not testify that appellant's claimed lack of memory was genuine.

Amnesia does not easily fit the statutory definition of incompetence.  Does an
inability to remember the alleged crime hinder a defendant's present ability to consult with counsel
with a reasonable degree of rational understanding, or leave the defendant unable to rationally and
factually understand the proceedings against him?  In its only extensive discussion of this subject,
the court of criminal appeals noted that it had found no reported opinion holding that a criminal
defendant's inability to recall the event for which he was on trial constituted a mental incapacity to
stand trial.  Jackson v. State, 548 S.W.2d 685, 691 (Tex. Crim. App. 1977).  In Jackson, the court
followed the approach taken in Wilson v. United States, 391 F.2d 460 (D.C. Cir. 1968).  Wilson held
that a defendant's amnesia bars prosecution only if the loss of memory so compromises his ability
to present a defense as to deprive him of a fair trial and effective assistance of counsel.  Id. at 462-63. 
The factors to consider are:  (1) the extent to which the amnesia affected the defendant's ability to
consult with and assist his lawyer; (2) the extent to which the amnesia affected the defendant's
ability to testify in his own behalf; (3) the extent to which the facts of the crime could be
reconstructed by extrinsic evidence; (4) the extent to which the government assisted the defense in
that reconstruction; (5) the strength of the government's case; and (6) any other facts or
circumstances indicating whether or not the defendant received a fair trial.  Id. at 463-64; Jackson,
548 S.W.2d at 692.

In Wilson, the defendant was severely injured in an automobile accident while fleeing
from the police.  391 F.2d at 461-62.  He suffered brain damage, remained unconscious for three
weeks, and at the time of his trial had no memory of the afternoon in question.  Id.  The fact of his
amnesia was undisputed, and he had previously been determined to be incompetent to stand trial. 
Id.  The appeals court remanded the cause to the trial court for a determination as to whether the
defendant's amnesia had deprived him of a fair trial.  Id. at 464.

In Jackson, the evidence showed that the defendant, during an argument with his wife,
produced a pistol and fired two shots, wounding his wife and killing his sister.  548 S.W.2d at 688. 
At a pretrial competency hearing, a court-appointed psychiatrist testified that the defendant could
not remember the shooting, a fact that the psychiatrist had confirmed by a polygraph examination. 
Id. at 690.  The psychiatrist expressed the opinion that the defendant was incompetent to stand trial. 
Id.  The defendant's court-appointed attorney testified at the hearing that the defendant "was
constantly changing the facts of his story."  Id.  The court of criminal appeals, applying the Wilson
factors, concluded that the defendant's lack of memory did not adversely affect his ability to
reconstruct the event or present a defense, and that the defendant's trial was not unfair under the
circumstances.  Id. at 692.

This issue was raised more recently in Reed v. State, 14 S.W.3d 438
(Tex.&nbsp;App.--Houston [14th Dist.] 2000, pet. ref'd).  The opinion cited twenty-one facts and
circumstances that the appellate court believed raised a bona fide doubt as to the defendant's
competence to stand trial, among them the defendant's inability to remember the event for which he
was on trial, his history of mental illness, his organic brain damage, his belief that his attorney was
conspiring against him, and the State's pretrial motion for a competency examination.  Id. at 439-41. 
Because the competency issue was not raised until sentencing, the court remanded the cause for
resentencing.  Id. at 443. (3)

In the instant cause, there was independent evidence that appellant had a history of
alcohol and drug abuse and that he was intoxicated on the night Jennifer Cave was killed.  But there
was no evidence corroborating appellant's claim that he could not remember the shooting. 
Appellant's own expert did not examine him, did not confirm the alleged amnesia, and did not
express the opinion that appellant was incompetent to stand trial.  Throughout the trial, counsel for
the State expressed the opinion that appellant's lack of memory was feigned.

There is no evidence suggesting that Jennifer was not killed in appellant's apartment
or that any person other than appellant fired the fatal shot.  That appellant and Jennifer were on
friendly terms was undisputed.  The defense was able to show through its firearms expert that the
pistol that fired the fatal shot did not have a safety or an indicator to show that it was loaded. 
Appellant articulately testified on his own behalf and his ability to present his defense--that he
would not have intentionally killed his friend--does not appear to have been compromised by his
inability to remember the shooting.  

Appellant cites defense counsel's statement, "I am not suggesting for a moment that
I have got a handle on all of this.  The single greatest problem that I have in being in charge of this
lawsuit is that I have got a client who cannot tell me what happened."  This comment was made
during jury argument.  Counsel was not asserting to the court that appellant's lack of memory
rendered him incompetent to assist in his defense.  In fact, during a pretrial hearing, one of
appellant's attorneys stated that the defense was not raising any claim of insanity or incompetence.

There is no evidence suggesting that appellant might have been incompetent to stand
trial.  Having considered the record in light of the factors identified in Wilson and Jackson, we
conclude that appellant's claimed inability to remember the shooting for which he was on trial did
not result in a trial that was fundamentally unfair.  Point of error five is overruled.

The judgment of conviction is affirmed.


				__________________________________________

				David Puryear, Justice

Before Justices Patterson, Puryear and Henson

Affirmed

Filed:   March 27, 2008

Publish
1.        In the reporter's record, the address also appears as 2525 Rio Grande.
2.        The three statements were:  (1) "The law says per se that if you kill someone with a deadly
weapon, then specific intent can be inferred." (2) "Like Ms. McFarland said, you can infer specific
intent, per se, from the use of a handgun." (3) "None of that is important because intent can be
inferred from the use of a deadly weapon."
3.        On remand, the trial court determined that the defendant was competent to stand trial and again
imposed sentence.  The court of appeals affirmed.  Reed v. State, 112 S.W.3d 706
(Tex.&nbsp;App.--Houston [14th Dist.] 2003, pet. ref'd).


